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   8                    UNITED STATES DISTRICT COURT
   9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   ADAM GHADIRI, an individual,             Case No. 8:24-cv-02093-JWH-KESx
  12              Plaintiff,
                                                JUDGMENT
  13        v.
  14   BROOKHURST PAWNSHOP, INC.,
         a California Corporation, and
  15   FOGEL, JACQUELINE TR
         SUBTRUST B FOGEL FAMILY
  16     TR, A TRUST,
  17              Defendants.
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Case 8:24-cv-02093-JWH-KES   Document 12   Filed 12/23/24   Page 2 of 2 Page ID
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